         Case 2:19-cr-00314-APG-EJY Document 52 Filed 10/20/20 Page 1 of 3




 1   RENE L. VALLADARES
     Federal Public Defender
 2   State Bar No. 11479
     KATHRYN C. NEWMAN
 3   Assistant Federal Public Defender
     Nevada State Bar No. 13733
 4   411 E. Bonneville, Ste. 250
     Las Vegas, Nevada 89101
 5   (702) 388-6577/Phone
     (702) 388-6261/Fax
 6   Kathryn_Newman@fd.org

 7   Attorney for William R. Adams

 8
                                 UNITED STATES DISTRICT COURT
 9
                                       DISTRICT OF NEVADA
10
11   UNITED STATES OF AMERICA,                            Case No. 2:19-cr-00314-APG-EJY

12                  Plaintiff,                                STIPULATION TO CONTINUE
                                                                  MOTION HEARING
13           v.
                                                                    (Fourth Request)
14   WILLIAM R. ADAMS,

15                  Defendant.

16
17           IT IS HEREBY STIPULATED AND AGREED, by and between Nicholas A.
18   Trutanich, United States Attorney, and Brian Y. Whang, Assistant United States Attorney,
19   counsel for the United States of America, and Rene L. Valladares, Federal Public Defender,
20   and Kathryn C. Newman, Assistant Federal Public Defender, counsel for William R. Adams,
21   that the Motion Hearing re: Motion to Suppress currently scheduled on October 22, 2020, be
22   vacated and continued to a date and time convenient to the Court, but no sooner than thirty (30)
23   days.
24           This Stipulation is entered into for the following reasons:
25
26
         Case 2:19-cr-00314-APG-EJY Document 52 Filed 10/20/20 Page 2 of 3




 1          1.      The parties have reached a tentative agreement and need the time to draft and
 2   file the proposed plea agreement. The time requested is to save judicial resources in light of the
 3   proposed resolution.
 4          2.      The parties agree to the continuance.
 5          3.      Mr. Adams is out of custody and agrees with the need for a continuance.
 6          This is the fourth request for a continuance of the motion hearing.
 7          DATED this 19th day of October, 2020.
 8
 9    RENE L. VALLADARES                               NICHOLAS A. TRUTANICH
      Federal Public Defender                          United States Attorney
10
11       /s/ Kathryn C. Newman                            /s/ Brian Y. Whang
      By_____________________________                  By_____________________________
12    KATHRYN C. NEWMAN                                BRIAN Y. WHANG
      Assistant Federal Public Defender                Assistant United States Attorney
13
14
15
16
17
18
19
20
21
22
23
24
25
26
                                                      2
         Case 2:19-cr-00314-APG-EJY Document 52 Filed 10/20/20 Page 3 of 3




 1                              UNITED STATES DISTRICT COURT

 2                                   DISTRICT OF NEVADA

 3
     UNITED STATES OF AMERICA,                          Case No. 2:19-cr-00314-APG-EJY
 4
                   Plaintiff,                           ORDER
 5
            v.
 6
     WILLIAM R. ADAMS,
 7
                   Defendant.
 8
 9
10          IT IS THEREFORE ORDERED that the motion hearing re: motion to suppress

11   currently scheduled for Thursday, October 22, 2020 at 9:30 a.m., be vacated and continued to

12   January 26, 2021 at the hour of 9:30 a.m., in Courtroom 3B.

13          DATED this 20th day of October, 2020.

14
15
                                                 UNITED STATES MAGISTRATE JUDGE
16
17
18
19
20
21
22
23
24
25
26
                                                    3
